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                        UNITED STATES DISTRICT COURT

                       EASTERN DISTRICT OF LOUISIANA


MARIE DENNIS                                   CIVIL ACTION

VERSUS                                         NO. 2:18-cv-06759

WALDORF=ASTORIA MANAGEMENT, LLC, JUDGE LANCE M. AFRICK
d/b/a THE ROOSEVELT NEW ORLEANS
                                 MAG. JUDGE KAREN WELLS ROBY

                    CORPORATE DISCLOSURE STATEMENT

           NOW INTO COURT, through undersigned counsel, comes defendant,

Waldorf=Astoria Management, LLC, which makes the following disclosures:

      1.    Waldorf=Astoria Management LLC is a wholly owned subsidiary of Hilton

            Domestic Operating Company Inc.

      2.    Hilton Domestic Operating Company Inc. is an indirect, wholly owned

            subsidiary of Hilton Worldwide Holdings Inc., a publicly traded corporation.


                                       Respectfully submitted,

                                       MOULEDOUX, BLAND, LEGRAND & BRACKETT

                                       s/André J. Mouledoux
                                       ANDRÉ J. MOULEDOUX (#9778)
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                                       Management, LLC
                                       CorpDiscStatement.docx
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                               CERTIFICATE OF SERVICE

        I hereby certify that on September 11, 2018, I electronically filed the foregoing with
the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing
to all CM/ECF participants.

        I further certify that I mailed the foregoing document and the notice of electronic
filing by first-class mail to the following non-CM/ECF participants: None


                                           s/André J. Mouledoux
